                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,         )
                                  )
          Plaintiff,              )
                                  ) No. 2:19-cv-00009
     v.                           ) JUDGE TRAUGER
                                  )
OAKLEY PHARMACY, INC., d/b/a      )
DALE HOLLOW PHARMACY;             )
CLAY COUNTY XPRESS PHARMACY, LLC; )
THOMAS WEIR; MICHAEL GRIFFITH;    )
JOHN POLSTON, and LARRY LARKIN,   )
                                  )
          Defendants.             )

                                         ORDER

       The Plaintiff United States’ and Defendant John Polston’s Joint Consent Motion for Entry

of a Preliminary Injunction Order against Polston is GRANTED. It is hereby ORDERED that the

Temporary Restraining Order entered on February 7, 2019 (Docket No. 10) and extended on

February 21, 2019 (Docket No. 37) is hereby converted to a preliminary injunction, the terms of

which are hereby EXTENDED until further order of the Court. Defendant Polston and his counsel

are hereby EXCUSED from attending the hearing on the Plaintiff’s request for a preliminary

injunction, which is set for June 12, 2019.

       It is so ORDERED.

                    6th day of June, 2019.
       ENTERED this ____



                                                   ___________________________________
                                                   ALETA A. TRAUGER
                                                   United States District Judge




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